                                        UNITED STATES DISTRICT COURT
                                             DISTRICT OF KANSAS


UNITED STATES OF AMERICA

                  Plaintiff,

        vs.                                                  District Court Case No.     17-cr-10142-EFM-1


   Bogdana Alexandrovna Mobley
                  Defendant.

                                              NOTICE OF APPEAL

        At the request of the above-named defendant, and at the direction of the Court, the Clerk

has prepared and files the following notice of appeal pursuant to Federal Rule of Criminal

Procedure 32(j)(2).

        Notice is hereby given to the United States Court of Appeals for the Tenth Circuit that

Defendant, Bogdana Alexandrovna Mobley                   , appeals from the following:

                               Conviction only [Fed.R.Crim.P.32(j)(l)(A)]

                               Sentence only (18 U.S.C. § 3742(a)

              x                Conviction and sentence

                               Other:

        ENTERED on behalf of the Defendant this 21st             day of       June          , 2019   .


                                                             RALPH L. M.
                                                             TIMOTHY  DeLOACH,
                                                                         O'BRIEN,CLERK
                                                                                  CLERK


                                                             By: s/ Sarah M. Zepick
                                                                    Deputy Clerk
01/05
